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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA              REDACTED
                                AT CHARLESTON                         VERSION




UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND




                REDACTED MEMORANDUM OPINION AND ORDER


           Pending are (1) defendant George Lecco’s motion to

sever his trial from that of co-defendant Valerie Friend, filed

June 26, 2006, (2) defendant Friend’s notice regarding severance

and her objections to the government’s proposed redaction of her

alleged statements, filed June 22, 2006, and (3) defendant

Friend’s motion for a separate trial, filed November 27, 2006.



                                      I.



A.   Chronology of Defendant and Witness Statements



           Carla Collins was murdered on or about April 16, 2005,

at an abandoned trailer on Double Camp Road, Newtown, Mingo
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County.   Her body was discovered June 17, 2005.            On June 27,

2005, Friend made statements to law enforcement, as detailed

below.    Blankenship accompanied Friend during this first contact

with law enforcement.      After suffering what the officers

perceived to be a seizure, Blankenship agreed substantially with

Friend’s account.     First Lieutenant Cliff Akers memorialized the

discussion in a June 27, 2005, memorandum.


           On June 28, 2005, Friend repeated her account to

Trooper Anthony Perdue and First Sergeant Dave Nelson.              The

statement was reduced to writing and signed the same day by

Friend.    At some time between June 28 and July 12, 2005, Friend

repeated her story to others, namely, attorney Mike Clifford,

Wanda Carney, and Betty Jarvis, who taped Friend’s comments.

Blankenship was also present at the time.


           On July 6, 2005, Blankenship had repeated essentially

the same story to First Lieutenant Akers, who recorded the

conversation and recounted it in a memorandum.            On July 12, 2005,

however, Blankenship gave a different statement, implicating

Friend and Patricia (“Pat”) Burton in the murder.             Blankenship

additionally indicated that only she, Burton, and Friend had been

at the scene at the time Collins was murdered.



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           Pat Burton also spoke to law enforcement about Collins’

murder.   On June 28, 2005, Burton told First Sergeant Nelson and

Trooper Perdue that Friend murdered Collins for Lecco, because he

suspected Collins’ cooperation with law enforcement.              Burton

stated she had been present when Friend shot Collins and when

Friend thereafter beat Collins with a rock.            Burton was arrested

that night on a state charge for accessory to murder.              On July 7,

2005, Burton’s lawyer, Charles West, told First Lieutenant Akers

and Mingo County Prosecutor Michael Sparks that his client wanted

to reveal certain “details” to law enforcement.             Among the

details revealed by attorney West, according to a memorandum

later written by First Lieutenant Akers, was that Burton saw

Lecco shoot Collins.


           On August 2, 2005, Burton told First Lieutenant Akers

that, on the night of the murder, Lecco and three other people

were “partying” at Lecco’s restaurant, the Pizza Plus.              The next

day, in a proffer session attended by prosecutors, law

enforcement, Burton and her lawyer, Burton recounted that Friend

had shot Collins using a pistol Burton had given her.              Burton

stated that Lecco had asked her and Friend to kill Collins in

exchange for money and cocaine.        She also noted that Lecco gave

her the pistol that Friend used to shoot Collins.


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B.   Charges Arising out of the Collins Murder



           A number of charges were filed relating to Collins’

death and the events surrounding it.          For present purposes,

Patricia Burton was ultimately charged with Collins’ murder in a

superseding indictment on November 15, 2005.            After executing a

plea agreement, Burton pled guilty to two crimes, conspiracy in

violation of 21 U.S.C. § 846, and use of a firearm during and in

relation to conspiracy, resulting in the death of another person,

in violation of 18 U.S.C. §§ 924(c) and (j).


           On October 18, 2005, the government filed an eight-

count, second superseding indictment accusing Friend and Lecco of

(1) controlled substance offenses (21 U.S.C. §§ 846 and

841(a)(1)), (2) murder with a firearm during and in relation to a

cocaine conspiracy (18 U.S.C. §§ 924(c)(1)(A) and 924(j)(1)), (3)

killing a person for aiding a federal investigation (18 U.S.C. §

1121(a)(2)), and (4) conspiracy to destroy and conceal evidence

(18 U.S.C. § 1512(k)).      The government attached special

conditions pursuant to 18 U.S.C. §§ 3591 and 3592.             On May 15,

2006, the United States Attorney filed his notice of intent to

seek the death penalty as to both defendants.




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           On May 31, 2006, the government provided the following

notice to the defendants:

(Letter from government to defendants (May 31, 2006)).


(Interview (emphasis added)).         As noted, the government never

intended to introduce a hard copy of the Interview, but only to

have its redacted substance at the ready, if necessary, for use

by First Lieutenant Akers and/or Investigator Gilman during their

testimony.

(Statement).


           As initially proffered by the government, both the

Statement and the Interview were heavily redacted.             Of the 120

lines contained in the Interview, 98 were either complete or

partial redactions or use limitations.          Of the 142 lines making

up the substance of the Statement, 111 were either completely or

partially redacted.


           Friend initially did not move for severance.             She

objected, however, to the substance of the government’s

redactions, stating (1) the proposed redactions violated the rule

of completeness by providing the jury only part of what she

related to law enforcement, (2) the proposed redactions transform

an exculpatory statement (defendant Lecco murdered Carla Collins)


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into an inculpatory statement, placing defendant Friend with the

victim, at the murder scene, shortly before leaving without her,

with no explanation concerning what transpired,1 (3) the

Statement transforms two trips to Double Camp into just one trip,

making defendant Friend’s alleged statement falsely appear

consistent with the version apparently given by some government

witnesses,2 and (4) the redacted version significantly undermines

defendant Friend’s case in mitigation, preventing her from using

the entirety of her utterances to illustrate defendant Lecco’s

paramount role and domination.


           Defendant Lecco contended as follows: (1) defendant

Friend is entitled to admission of her entire statement or none

of it, (2) absent the entire statement, the government’s case

against defendant Lecco consists of circumstantial and indirect

evidence, making it impossible for a jury to give separate

consideration of the defendants’ cases, based upon confusedly

intertwined evidence and theories of the case, and (3) defendant


     1
      Defendant Friend contends that “[i]mplicit in this
misleading, redacted version is that Valerie Friend participated
in killing Carla Collins when Valerie Friend allegedly stated the
opposite.” (Friend Notice at 1).
     2
      The government attempts to correct this difficulty by
allowing Akers or Gilman, if asked during their direct testimony,
to testify concerning the second trip to Double Camp. This
accommodation would appear to resolve defendant Friend’s concern.

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Lecco’s Sixth Amendment confrontation rights are at odds with

having the entire statement offered into evidence.


           The government then responded as follows: (1) the

redactions to the Statement and limited use of the Interview

satisfied defendant Lecco’s Bruton concerns and will not mislead

the jury as to defendant Friend’s involvement, (2) defendant

Friend’s exculpatory utterances in her Statement are hearsay and

may not be admitted at trial under the rule of completeness, (3)

the rule of completeness does not apply to oral statements like

those defendant Friend gave during the Interview, (4) no redacted

portion of the Statement or Interview is necessary to explain the

remainder, and (5) relative to the penalty phase, defendant

Friend’s version of events are not in mitigation but are simply

an attempt to absolve herself completely of any role in the

murder.


           As merged, the substance of defendants’ respective

replies are as follows: (1) “the redacted portions (i.e. Friend

witnesses George Lecco murder Carla Collins) are clearly

necessary to explain the statement that Valerie Friend and others

went to Double Camp Hollow with Carla Collins the evening that

Carla Collins was killed and returned without her” (Friend Reply

at 1), (2) the redaction eliminates the purpose of the trip,

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namely to take Collins to meet defendant Lecco, (3) the

redactions have transformed the Statement and Interview from

exculpatory declarations into inculpatory confessions, (4) the

redacted portions are an integral part of the Statement and

Interview, (5) the rule of completeness requires introduction of

the Statement and the contents of the Interview in their

entirety, (6) severance is required based upon the antagonistic

nature of the defendants’ defenses, and (7) defendant Friend’s

exculpatory statements are admissible in the penalty phase from a

mitigation standpoint because they demonstrate defendant Lecco’s

control and domination of defendant Friend and others present.3


           On November 16, 2006, the government filed a

supplemental response providing as follows:

          The United States has decided not to offer
     Friend’s written statement of June 28, 2005, in its
     case-in-chief.

          Regarding Friend’s oral statements to . . . [First
     Lieutenant] Akers and . . . Investigator . . . Gilman
     in the afternoon of June 27, 2005, . . . the United


     3
      On September 18, 2006, defendant Lecco filed an additional
brief contending severance was appropriate based, inter alia,
upon the fact that in a joint penalty phase an “aggravating
factor advanced by the government . . . becomes a mitigating
factor for the other . . . . In this case neither of the co-
defendants would be able to present damaging, and possibly
damning, evidence against the other, evidence not discovered or
not discoverable by the prosecution.” (Def. Lecco’s Supp. Memo.
in Supp. at 2).

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     States proposes to introduce only very limited
     testimony of . . . [First] Lt. Akers. The testimony
     would be in response to a question about what, if
     anything, did Friend say happened on the Monday after
     Carla Collins had been murdered, April 18, 2005. The
     expected testimony, as reflected on page 4 (Bates 247)
     of . . . [First Lieutenant] Akers’ memorandum, is: “. .
     . Patricia came to her with $1,000.00 and an ‘8 ball’
     of cocaine for her.” Further, if Friend insists that
     out of fairness her explanation for the money and drugs
     should also be presented to the jury, the United States
     would propose to have . . . [First Lieutenant] testify
     to the gist of the follow-on sentences from page 4 of .
     . . [First Lieutenant] Akers’ memorandum. However, in
     order to comply strictly with the dictates of Bruton v.
     United States, 391 U.S. 123 (1968), and to prevent any
     inadvertent verbal slip from the witness, the United
     States would propose that it be allowed to ask leading
     questions, as follows:

           Q: Ms. Friend then indicated that, according
           to Pat Burton, “JF” Smith was to be done in,
           is that right?

           Q: And Ms. Friend said that, according to Pat
           Burton, the money and the drugs - the $1,000
           and the cocaine - were to lure “JF” to Double
           Camp to party, right?

           Q: Ms. Friend then indicated that she refused
           to go, is that right?

          This would be all that the United States proposes
     to offer from the statements reflected in . . . [First]
     Lt. Akers’ memorandum.

(Govt.’s Supp. Resp. at 1-2).       The government subsequently made

clear that it was not averse, if necessary, to abandoning any

mention of the Interview as well if a contrary course would

result in severance.      (Govt.’s Resp. to Def. Lecco’s Reply at 7

(“If the United States has to choose between having a joint

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trial, without introducing any portion of any of Friend’s

statements in its case-in-chief, and having separate trials while

being allowed to introduce some or all of Friend’s statements at

her trial, then the United States will opt for a joint trial. The

United States wants to use the statement against Friend, and

believes it is on firm ground to do so, but not at the very high

cost of having to try this case twice.”).


            Following this apparently significant concession,

Friend moved for a separate trial, contending as follows: (1) the

essential redacted portion, (i.e., Friend witnesses George Lecco

murder Carla Collins) is clearly necessary to explain why Pat

Burton came to Friend with money and drugs and the news that

“J.F.” Smith was to be killed up at Double Camp . . . .

transform[ing] an exculpatory statement into an ‘admission[;]’”

(2) the redaction transforms a witness statement into an

implication that Friend was involved in the Collins murder and

was paid for it, (3) the rule of completeness requires the

admission of the substance of the Interview in its entirety, and

(4) Friend could not at a joint trial confront Blankenship or

Burton about their conflicting versions of events.4


      4
      Friend could, of course, attempt to confront both of these
government witnesses concerning their conflicting versions of
events. As noted by the government “A skilled lawyer should be
able to, and indeed should be required to, cross-examine
                                                   (continued...)

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            Defendant Lecco likewise objected to the government’s

proposed concession, asserting as follows: (1) a Bruton violation

persists because Lecco is prevented from cross examining Friend,

and (2) Lecco will not be permitted to challenge Friend’s

statement concerning the “8 ball” and $1,000, which implicitly

identifies him as the source of the contraband and money.



                                     II.



A.    General Standards Governing Severance



            Taking account of the government’s recent concession,

namely, that it abandons any intention of offering the Statement

or any portion of the Interview at trial, save the excerpt noting

Pat Burton’s offer to Friend of $1,000 and an 8 ball of cocaine,

defendants’ arguments in favor of severance distill to four



      4
      (...continued)
Blankenship without describing who else blamed Lecco because that
fact is irrelevant. This is particularly the case where
Blankenship on one occasion -- July 6, 2005 -- made the
inconsistent statement by herself, without adopting what Friend
or anyone else said.” (Govt.’s Resp. to Defendant Friend’s Mot.
for a Sep. Trial at 8) (emphasis in original). The government
additionally concedes that Blankenship’s prior statements do not
qualify as hearsay and that they would not run afoul of Crawford
v. Washington, 541 U.S. 36, 59 n.9 (2004).

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contentions.     First, they attempt to demonstrate the putatively

irreconcilable conflict between defendant Lecco’s Bruton rights

and defendant Friend’s reliance upon the rule of completeness.

Second, they assert their defenses are antagonistic.               Third,

defendant Friend contends that should she be convicted, her case

in mitigation would be prejudiced by continued redaction of her

statements.     Fourth, defendant Lecco contends generally that a

joint penalty phase would be unworkable and constitutionally

suspect in view of the fact that (1) each defendant would take on

the role of a second prosecutor in identifying unnoticed

aggravating factors as to the other, or, alternatively (2) each

defendant would impermissibly be required to avoid the

introduction of previously unmentioned, damaging evidence not

uncovered by the government but presumably relevant to mitigation

or aggravation.       Prior to analyzing those contentions, the court

discusses the law applicable to the first two arguments.



                 1.    General Severance Considerations



            Federal Rule of Criminal Procedure 8(b) provides that

“defendants may be charged in the same indictment if they are

alleged to have participated in the same act or transaction or in

the same series of acts or transactions constituting an offense

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or offenses.”        Fed. R. Crim. P. 8(b).     Our court of appeals has

observed that “[b]arring special circumstances, individuals

indicted together should be tried together.”             United States v.

Brugman, 655 F.2d 540, 542 (4th Cir. 1981).


            There is a presumption that co-defendants will be tried

jointly, and the presumption applies equally to conspiracy cases.

Zafiro v. United States, 506 U.S. 534, 537-38 (1993); United

States v. Najjar, 300 F.3d 466, 473 (4th Cir. 2002); United

States v. Akinkoye, 185 F.3d 192, 197 (4th Cir. 1999).                Indeed,

the court of appeals has observed the presumption is particularly

apropos in the conspiracy setting.           United States v. Parodi, 703

F.2d 768, 779 (4th Cir. 1983); United States v. Reavis, 48 F.3d

763, 767 (4th Cir. 1995)(stating “the well-established principle

that defendants who are charged in the same criminal conspiracy

should be tried together.”).


            Rule 14(a), Federal Rules of Criminal Procedure,

however, permits severance “[i]f the joinder . . . appears to

prejudice a defendant . . . .”         Fed. R. Crim. Proc. 14(a).          In

making the severance determination generally, the focus is on

whether the failure to sever will result in the compromise of a

specific trial right of one of the defendants or prevent the jury

from making a reliable judgment concerning guilt or innocence.

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Zafiro, 506 U.S. at 539; Najjar, 300 F.3d at 473.              The mere fact

that severance might result in a better chance of acquittal, or

that the evidence against one defendant is stronger or more

inflammatory than as to another, is an insufficient basis for

ordering separate trials.       See Najjar, 300 F.3d at 473; United

States v. Strickland, 245 F.3d 368, 384 (4th Cir. 2001); Reavis,

48 F.3d at 767; Akinkoye, 185 F.3d at 197.



                2.   Bruton and the Rule of Completeness



            Severance is often requested when the government seeks

to introduce into evidence at a joint trial the confession of a

defendant that implicates as well his or her co-defendant.                At

its most general level, Bruton v. United States, 391 U.S. 123

(1968), teaches that a Sixth Amendment violation is visited upon

a defendant when (1) his non-testifying co-defendant’s confession

is offered at trial, and (2) it names the defendant as a

participant in the crimes under consideration.             Id. at 135-36;

United States v. Workman, 860 F.2d 140, 144 (4th Cir. 1988).


            At the same time, the Supreme Court has observed as

follows:

      It would impair both the efficiency and the fairness of
      the criminal justice system to require, in all these

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      cases of joint crimes where incriminating statements
      exist, that prosecutors bring separate proceedings,
      presenting the same evidence again and again, requiring
      victims and witnesses to repeat the inconvenience (and
      sometimes trauma) of testifying, and randomly favoring
      the last-tried defendants who have the advantage of
      knowing the prosecution's case beforehand . . . . Even
      apart from these tactical considerations, joint trials
      generally serve the interests of justice by avoiding
      the scandal and inequity of inconsistent verdicts.

Richardson v. Marsh, 481 U.S. 200, 210 (1987); see also Howard v.

Moore, 131 F.3d 399, 416 (4th Cir. 1997).


            In view of these competing concerns, a court

confronting a Bruton-based severance request considers a variety

of factors, including “the rights of the defendant, the rights of

the co-defendant, society's interest in convicting only the

guilty, and the efficient administration of justice.”               Howard v.

Moore, 131 F.3d 399, 416 (4th Cir. 1997).


            Beyond these general considerations, however, our court

of appeals has offered significant guidance over the years

concerning the problems presented specifically by Bruton

compliance.     From a general standpoint, when a redacted statement

does not refer to the existence of a co-defendant, it is

admissible and severance is not required.            Akinkoye, 185 F.3d at

198; United States v. Locklear, 24 F.3d 641, 646 (4th Cir. 1994).

Similarly, when the redacted statement refers to the existence of


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a co-defendant through use of symbols or neutral pronouns, the

redacted version is almost always admissible.             Akinkoye, 185 F.3d

at 198; United States v. Brooks, 957 F.2d 1138, 1146 (4th Cir.

1992); United States v. Vogt, 910 F.2d 1184, 1191 (4th Cir.

1990).


            Inasmuch as the government’s redaction avoids any

mention, or even implicit reference to, defendant Lecco, he

cannot make out a Bruton violation.          Additionally, he suggests

Friend’s utterance in the Interview concerning the "8 ball" and

$1,000 implicitly implicates him as its source, perhaps when

taken in concert with other evidence to be introduced in the

case.    In Richardson v. Marsh, 481 U.S. 200 (1987), however, the

Supreme Court held the Confrontation Clause is not violated by

the admission of a non-testifying co-defendant's confession that

has been redacted to eliminate the defendant's name and any

reference to his existence where a limiting instruction is given,

even though the statement is incriminating to the defendant when

it is linked with other evidence introduced at trial.               Id. at

211.    Here, the 8 ball and $1,000 utterance could as well be

linked to others wishing to shield involvement.


            Once a redaction is offered, it is often challenged

under the rule of completeness as proceeding beyond the

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foregoing, well-marked boundaries.          This is especially so when a

defendant perceives that, as a result of selective editing of his

statement by the prosecution, he is left at trial to suffer the

effect of his inculpatory declarations but denied the ability to

benefit from his correspondingly exculpatory utterances.               When

this occurs, the confessing defendant will often seek

completeness, a common-law principle now partially codified in

Federal Rule of Evidence 106.        As will be illustrated below, one

can discern three rules from our court of appeals’ precedent

governing the interaction of Bruton and Rule 106.


            Our court of appeals discussed the rule of completeness

in United States v. Bollin, 264 F.3d 391 (4th Cir. 2001).                In

Bollin, the defendant complained that the district court erred

when it allowed the government to present a redacted version of

his grand jury testimony but refused to allow him to present the

omitted portions.      The court in Bollin noted “[t]he purpose of

the rule [of completeness] is ‘to prevent a party from misleading

the jury by allowing into the record relevant portions of the

excluded testimony which clarify or explain the part already

received.’”     Bollin, 264 F.3d at 414 (quoting United States v.

Wilkerson, 84 F.3d 692, 696 (4th Cir. 1996)).




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            As further noted in Bollin, the Rule requires that the

“portions of the excluded testimony . . . be relevant to an issue

in the case, and the court need only admit the portions that are

necessary to clarify or explain the portion of the testimony

already admitted.”      Id. at 414.        Without noting the substance of

the testimony it was considering, the court of appeals then

observed “The fact that some of the omitted testimony arguably

was exculpatory does not, without more, make it admissible under

the rule of completeness.”          Id.    The court of appeals expanded

further on the proper application of the Rule in relation to

redacted testimony admitted against one of Bollin’s co-

defendants:

      [T]he omitted portions of Tietjen's testimony were not
      necessary to avoid misleading the jury or to clarify or
      explain any portion of the admitted testimony, and the
      rule of completeness does not require the court to
      admit Tietjen's complete grand jury testimony solely
      because some portions might be exculpatory.

United States v. Bollin, 264 F.3d 391, 415 (4th Cir. 2001)

(emphasis added).


            From Bollin, then, one appreciates two rules of general

applicability in this circuit regarding Rule 106: (1) omitted

portions of a statement may be admitted under Rule 106 when

necessary to avoid misleading the jury or to clarify or explain

any portion of the admitted testimony, and (2) admissibility is

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not controlled simply by whether non-admitted portions of a

statement might contain exculpatory material.


            A third important corollary governing the admission of

statements under Rule 106 is found in United States v. Wilkerson,

84 F.3d 692 (4th Cir. 1996):

      The evidentiary rules which properly govern the
      admissibility of Wilkerson's exculpatory statements are
      contained within the hearsay rule and the exceptions
      thereto. Hearsay is defined as “a statement, other than
      one made by the declarant while testifying at the trial
      or hearing, offered in evidence to prove the truth of
      the matter asserted.” Admissions by a party-opponent
      are not considered hearsay and therefore can be
      admitted against that party. Thus, during direct
      examination, the government could have introduced
      inculpatory statements made by Wilkerson. The rules do
      not, however, provide an exception for self-serving,
      exculpatory statements made by a party which are being
      sought for admission by that same party. Moreover,
      even if, as Wilkerson claims, Rule 106 had applied to
      this testimony, it would not render admissible the
      evidence which is otherwise inadmissible under the
      hearsay rules. See United States v. Woolbright, 831
      F.2d 1390, 1395 (8th Cir.1987) (neither Rule 106 or
      Rule 611 authorizes a court to admit unrelated hearsay
      when that hearsay does not fall within one of the
      exceptions to the hearsay rule). Consequently, because
      the exculpatory statement in question here was pure
      hearsay and no exception enumerated in the rules
      permit[s] its introduction, the trial judge did not
      abuse his discretion in prohibiting its admission.

Id. at 696 (some citations omitted).          This excerpt makes clear

that if a defendant seeks to supplement a government submission

with exculpatory material, he must do so in accordance with the



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Rules of Evidence governing hearsay.5



                        3.   Antagonistic Defenses



            With respect to antagonistic defenses, our court of

appeals has observed as follows:

           The presence of conflicting or antagonistic
      defenses alone does not require severance, however. We
      note that “[t]he mere presence of hostility among
      defendants . . . or a desire of one to exculpate
      himself by inculpating another [are] insufficient
      grounds to require separate trials.” The rule requires
      more than finger pointing. There must be such a stark
      contrast presented by the defenses that the jury is
      presented with the proposition that to believe the core
      of one defense it must disbelieve the core of the other
      . . . or “that the jury will unjustifiably infer that
      this conflict alone demonstrates that both are guilty.”

            . . . .

           We are of opinion that the content of the
      cross-examination does not rise above mere finger
      pointing, which does not provide the stark conflict
      necessary for relief. Counsel's statement focused on
      Najjar's part in the criminal enterprise. It did not,
      however, present a situation where Najjar's guilt was
      dictated by the asserted innocence of the
      co-defendants. Najjar's testimony implicated himself on
      the honest services prong of mail fraud. If, as counsel
      suggested, Najjar's testimony was self-serving, and the


      5
      The court notes additionally the more recent pronouncement
from our court of appeals in United States v. Moussaoui, 382 F.3d
453 (4th Cir. 2004), which observed "The rule is protective,
merely. It goes only so far as is necessary to shield a party
from adverse inferences, and only allows an explanation or
rebuttal of the evidence received." Id. at 481.

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      jury discredited Najjar's testimony, rather than
      dictate guilt, counsel's tactic actually tended to
      exonerate Najjar as to that particular count.

Najjar, 300 F.3d at 474 (citations omitted); see also United

States v. Smith, 44 F.3d 1259, 1266-67 (4th Cir. 1995) (“Because

joint participants in a scheme often will point the finger at

each other to deflect guilt from themselves or will attempt to

lessen the importance of their role, a certain amount of conflict

among defendants is inherent in most multi-defendant trials.’”)

(quoted authority omitted); United States v. Ricks, 882 F.2d 885,

894 (4th Cir. 1989) (“The mere existence of antagonistic defenses

among defendants is insufficient to require separate trials.

Rather, a defendant must establish that the asserted conflict is

so prejudicial that he will be denied a fair trial if tried

jointly with his co-conspirators.”); United States v. Spitler,

800 F.2d 1267, 1271-72 (4th Cir. 1986); United States v.

Ferguson, 778 F.2d 1017, 1020 (4th Cir. 1985) (noting “the

independent evidence of the guilt of both defendants was so

strong that any conflict in defenses cannot be said to have

resulted in their convictions.”).


             Our court of appeals long ago observed additionally

that “[a]ntagonistic defenses do not per se require severance,

even if the defendants are hostile or attempt to cast blame on


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each other.”     United States v. Becker, 585 F.2d 703, 707 (4th

Cir. 1978); see also Zafiro v. United States, 506 U.S. 534, 538

(1993).



B.    Analysis



            As noted, the severance determination depends upon the

consideration of a variety of factors, including (1) the rights

of the defendant, (2) the rights of the co-defendant, (3)

society's interest in convicting only the guilty, and (4) the

efficient administration of justice.          The court considers within

the first two factors defendants’ arguments in favor of

severance.


            Defendants contend initially that the proposed

redaction violates the rule of completeness and transforms an

exculpatory statement into an inculpatory utterance.              The

defendants presumably contend the only remedy is to allow

admission of both the Statement and Interview in their entirety

which, of course, would require severance of defendant Lecco in

view of the inculpatory contents of both documents as they relate

to him.    The argument fails, however, for a variety of reasons.




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            First, and most importantly, the rule of completeness,

as codified in Rule 106, does not extend to oral statements like

those recounted in the Interview.          Accordingly, that isolated

excerpt from the Interview proposed by the government for use at

trial, relating to Pat Burton’s offer to Friend of $1,000 and an

8 ball of cocaine, is not subject to the Rule.             Although other

circuits, and commentators, suggest the rule of completeness

extends to oral statements like that found in the Interview6, our

court of appeals appears to take a narrower approach.               In United

States v. Wilkerson, 84 F.3d 692, 696 (4th Cir. 1996), the court

of appeals stated as follows:

      The common-law doctrine of completeness has been
      partially codified in Rule 106 of the Federal Rules of
      Evidence. The rule applies only to writings or
      recorded statements, not to conversations. Thus,
      Wilkerson's reliance on the rule is misplaced. . . .
      [T]he rule of completeness, if it applied to oral
      conversations, would not have applied here where there
      was no partially introduced conversation that needed
      clarification or explanation.

Id. at 696.


            Were the case otherwise, defendant Friend fails to

suggest how her exculpatory statements might qualify for


      6
      See, e.g., United States v. Baker, 432 F.3d 1189, 1223
(11th Cir. 2005); United States v. Alvarado, 882 F.2d 645, 651
(2nd Cir. 1989); United States v. Castro, 813 F.2d 571, 576 (2d
Cir. 1987); 1 J. Weinstein & M. Berger, Weinstein's Evidence ¶
106[01], at 106-4 (1986 ed.).

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admission under the exceptions or exemptions that apply to

hearsay.    This is an important consideration.           As earlier noted,

Wilkerson provides as follows:

      The rules do not, however, provide an exception for
      self-serving, exculpatory statements made by a party
      which are being sought for admission by that same
      party.

Id. at 696.


            Having noted these principles, however, and with a

desire to balance the competing rights of defendant Friend and

defendant Lecco, the court is willing to consider alternatives in

addition to the concessions offered by the government that

support a joint trial.      Those concessions consist of the

elimination from its case-in-chief of Friend’s Statement and all

of Friend’s Interview except for the limited reference to the

offer from Burton to Friend of the $1,000 and an 8 ball of

cocaine, coupled with further explanation, if Friend desires it,

of Friend’s refusal of the offer.          Indeed, there is authority for

the precise course suggested by the government, as discussed in

United States v. Castro, 813 F.2d 571 (2d Cir. 1987):

      While Castro had an interest in having his statement
      presented in context, the court had concurrent
      obligations both to protect the interests of the
      co-defendant Pozo (Acosta), who could have been
      implicated by Castro's full statement, and to consider
      the interests of judicial economy, which are advanced
      by a joint trial. By suggesting that the government on

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      direct, and Castro on cross-examination, elicit from
      Officer Figueroa the essential point Castro wanted to
      present to the jury, i.e., that Castro “in substance”
      denied ownership of the cocaine, the court reasonably
      accommodated these competing interests. The gist of
      Castro's statement was presented without unduly
      prejudicing either the right of Pozo to avoid being
      implicated by a co-defendant's out-of-court statement,
      or the right of Castro to have his conduct and
      statement presented in context. We cannot conclude that
      this approach was an abuse of discretion.

Id. at 576-77.       Defendants’ first argument, then, fails to

establish the necessity of severance.


            Second, the parties appear to suggest that their

defenses are antagonistic and, further, that the jury will be

unable to give separate consideration to each of their theories

in view of the confusing nature of the body of evidence.               The

court notes initially the defendants have offered little in the

way of the specifics necessary to meet the exceedingly high

standard that governs such requests.


            Regarding antagonistic defenses, it is insufficient to

simply point to hostility between defendants or their respective

desires to exculpate themselves at the expense of those charged

along with them.       Mere “finger pointing” is to be expected in

multi-defendant trials and its appearance certainly is not enough

to merit severance.       United States v. Najjar, 300 F.3d at 474.



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            Rather, “[t]here must be such a stark contrast

presented by the defenses that the jury is presented with the

proposition that to believe the core of one defense it must

disbelieve the core of the other . . . or ‘that the jury will

unjustifiably infer that this conflict alone demonstrates that

both are guilty.’”      Id.   The defendants have failed to

demonstrate the stark conflict necessary for severance.


            Third, defendants raise their concerns about a joint

penalty phase.       In view of the government’s recent concessions,

namely, its willingness to use only the limited reference from

the Interview to the offer from Burton to Friend of the $1,000

and an 8 ball of cocaine and further explanation, if Friend

desires it, of Friend’s refusal of the offer, Friend’s argument

has lost much steam.      To the extent she yet contends she would be

impermissibly robbed of her exculpatory comments in the Interview

in a joint trial, attesting to Lecco’s domination of her, the

argument fails.      First, the court observes that the contention is

speculative.     The jury may exonerate defendant Friend.            If the

court acts precipitously in severing the case based upon a

penalty phase argument, all of the economies achieved by a joint

trial may be lost.7


      7
      The court notes defendant Lecco’s penalty phase arguments
are speculative as well. He speaks only in general terms without
                                                   (continued...)

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            Second, and without prejudice to further admissibility

arguments by defendant Friend, the substance of the statements

somewhat belie the mitigation value she attributes to them,

namely, that they demonstrate the domination of defendant Lecco

of those surrounding him.       One searches the Statement and

Interview in vain for anything approaching the broader

domination-type evidence defendant Friend asserts that they

contain.


            Having considered the defendants’ interests as

illustrated by the foregoing three arguments, it is also

incumbent upon the court to examine society's interest in

convicting only the guilty and the efficient administration of

justice.    Regarding the first consideration, there appear to be

conflicting witness accounts concerning who is properly

chargeable with the death of Carla Collins.            A unitary trial,

where one jury renders its verdict after reviewing all of the

conflicting accounts, is thus of singular importance.               As one

commentator has noted:

      Similarly, it has been asserted that the fact that the
      defendants “have conflicting versions of what took
      place, or the extent to which they participated in it”
      is “a reason for rather than against a joint trial”


      7
      (...continued)
focusing his argument on the specific trial right or rights that
will be compromised in a joint penalty phase.

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      because “it is easier for the truth to be determined if
      all are required to be tried together.”

4 Wayne R. LaFave, Criminal Procedure § 17.2(d) (2nd ed. 1999)

(quoted authority omitted).


            Regarding the efficient administration of justice, the

government estimates that it will call approximately thirty

witnesses during its case-in-chief.          If severance occurs, these

witnesses will suffer great inconvenience, and perhaps increased

trauma, as a result of twice being called to testify concerning

the same subject matter.       A separate jury venire would also be

necessary for each case, further magnifying the costs of

severance.    There is also the ever-present risk of the jury not

being able to discern the truth with two separate trials, perhaps

resulting in wrongful acquittal or conviction.             The last tried

defendant would also have the benefit of knowing the manner of

the presentation of the government’s case beforehand.                Each of

these significant considerations illustrates the inadvisability

of severance.



                                    III.



             Based upon the foregoing discussion, the court ORDERS

that defendant Lecco’s motion to sever, and defendant Friend’s

motion for a separate trial, be, and they hereby are, denied.

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            The Clerk is directed to forward copies of this

redacted written opinion and order to all counsel of record, the

United States Probation Department, and the United States

Marshal.
                                    DATED: January 29, 2007


                                    John T. Copenhaver, Jr.
                                    United States District Judge




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